UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

)

KRISTEN SLUYSKI, individually and on )

behalf of all others similarly situated,

)
) C.A. No. 18-1041 l-PBS

 

PlaintiH`s, )

)

v. )
)

AMERICAN GENERAL LIFE )
INSURANCE COMPANY, )
)

Defendant. )

)

lSt AMENDED COMPLAINT

Plaintiff Kristen Sluyski (“Ms. Sluyski”), individually and on behalf of all others

similarly situated, hereby amends her complaint originally filed in Middlesex Superior Court on

December 17, 2017 to drop the request to have a national class certified and instead request that

the Court certify a state class for the state of Massachusetts. She reasserts all other claims in the

complaint as if stated here.

KRISTEN SLUYSKI, individually and on
behalf of all others similarly situated,
By their attomeys,

/s/ Mark B Ryan
BBO # 665310

Ryan Law LLC

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CERTIFICATE OF SERVICE

I, Mark B Ryan, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on this date.
Dated: June 25, 2018

/s/ Mark B Ryan

4838-6934-7938, v. l

